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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:    WESLEY E. FINCH, JR.                                  Case No. 18-03805-JAW
          LORI A. FINCH, Debtors                                         CHAPTER 13

             APPLICATION TO BE EMPLOYED AS SPECIAL COUNSEL
       COMES NOW, Morgan & Morgan (“Applicant”), by and through undersigned counsel,
and pursuant to 11 U.S.C. §327(e) and F.R.B.P. 2014(a), files this Application to be Employed
Special Counsel in the above Chapter 13 bankruptcy case and in support hereof would show unto
the Court the following, to wit:
   1. That Morgan & Morgan represent that in the administration of the above referenced
      Debtors’ estate, it has been determined necessary to employ Special Counsel to provide
      assistance with the prosecution of the Debtor’s personal injury claim.

   2. That the Applicant desires to be employed to render services in connection with the claim
      as Special Counsel for the Debtor.

   3. That it would be in the best interests of the estate that said firm be employed.

   4. An attorney for Morgan & Morgan has attached his affidavit hereto, stating that the firm
      is a disinterested party to Debtor’s estate. See Exhibit “A”.

   5. That in consideration of said representation, Morgan & Morgan will receive a
      contingency fee and reimbursement of costs, the total of which will not exceed 50% of
      the total recovery.

        WHEREFORE PREMISES CONSIDERED, Applicant prays that the Court enter an
Order authorizing the employment of Morgan and Morgan as Special Counsel for the Debtor
under the provisions set forth herein and by Order of this Court.

                                             Respectfully submitted,

                                             Morgan & Morgan, APPLICANT

                                             BY:
                                              /s/ Jennifer A Curry Calvillo
                                             Thomas C. Rollins, Jr. (MSBN 103469)
                                             Jennifer A Curry Calvillo (MSBN 104367)
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                               CERTIFICATE OF SERVICE
I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above Motion to
was forwarded on September 28, 2022, to the Debtor’s attorney, case trustee and U.S. Trustee as
indicated in the “21 day notice” that accompanies this Application.


                                            /s/ Jennifer A Curry Calvillo
                                            Jennifer A Curry Calvillo
